Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 1 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 2 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 3 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 4 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 5 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 6 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 7 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 8 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 9 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 10 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 11 of 25
              Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 12 of 25



 I each element or alternatively, to exclude the innocent from further suspicion. In my training
 2 and experience, the information stored in connection with an email account can indicate who
 3 has used or controlled the account. This "user attribution" evidence is analogous to the
 4 search for "indicia of occupancy" while executing a search warrant at a residence. For
 5 example, email communications, contacts lists, and images sent (and the data associated with
 6 the foregoing, such as date and time) may indicate who used or controlled the account at a
 7 relevant time. 9trther, infomRttiojmaintained by the email provider can show how and
 8 when the account was accesse�rllsed. For example, as described below, email providers
 9 typically log the Internet Protocol (IP) addresses from which users access the email account,
IO along with the time and date of that access. By determining the physical location associated
11 with the logged IP addresses, investigators can understand the chronological and geographic
12 context of the email account access and use relating to the crime under investigation. This
13 geographic and timeline information may tend to either inculpate or exculpate the account
14 owner. Additionally, information stored at the user's account may further indicate the
15 geographic location of the account user at a particular time (e.g., location information
16 integrated into an image or video sent via email). Last, stored electronic data may provide
17 relevant insight into the email account owner's state of mind as it relates to the offense under
18 investigation. For example, information in the email account may indicate the owner's
19 motive and intent to commit a crime (e.g., communications relating to the crime), or
20 consciousness of guilt (e.g., deleting communications in an effort to conceal them from law
21 enforcement).
22                                            CONCLUSION
23          46.      Based upon the information that has been uncovered during the course of this
24 investigation, and on the advice, experience, knowledge of other agents and officers involved
25 in this investigation, I believe these facts establish probable cause to search the SUBJECT
26 ACCOUNTS identified in Attachment A for the items described in Attachment B.
27          47.      Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is
28 not required for the service or execution .Qf this warrant. The government will execute this

     Affidavit of Special Agent Zito                                          UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5200
     USAO#2020R0 1184 - Page I I                                               SEATTLE. WASHINGTON98101
                                                                                     (206) 553-7970
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 13 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 14 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 15 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 16 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 17 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 18 of 25
                                  Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 19 of 25
AU 93 (Rev_      II/IJ)   Search and Seizure Warrant




                                                    UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                         Westem District of Washington

                          In the Matter of the Search of                                      )
                  (Brie}'" describe Ihe proper~1' 10 be sectrched                             )
                   or idelltifr tlte persall by lIalll(, alld address)
                                                                                              )     Case No.     MJ20-713
                                    ine Gmail accounts                                        )
                          more fully described in Attachment A                                )
                                                                                              )

                                                            SEARCH AND SEIZURE WARRANT
To:           Any authorized         law enforcement         officer
         An application by a federal law enforcement                          officer or an attomey     for the government    requests the search
of the following person or property located in the                                    Northern              District of                  California
(idelllify   tlte persoll or describe lite prOf/el'l_\, to be searched alld gil'e Us localioll):

       See Attachment A, attached hereto and incorporated by reference herein.




         I find that the affidavit(s), or any recorded testimony. establish probable cause to search and seize the person or property
described above, and that such search will reveal (idellli/_\' Ihe persall or describe the property to be sei=ed):
    See Attachment B attached hereto and incorporated by reference herein.




              YOU ARE COMMANDED to execute this warmnt on or before                                        November 19,2020       (110110exceed 14 da_\'s)

         o    in the daytime 6:00 a.m. to 10:00 p.m.                      ~ at any time in the day or night because good cause has been established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the propelty taken to the
person from whom or from whose premises the property was taken, or leave the copy and receipt at the place where the
property was taken.
          The officer executing this warrant, or an ofticer present during the execution of the warrant Illust prepare an inventory
as required by law and promptly return this wamlllt and inventory to          anv U.S. Ma istrate Jud e in West. Dist. of Washin ~ton


        oPursuant to 18 U.S.c. § 31 03a(b), Ifind that immediate notification may have an adverse result listed in 18 U.S.c.
§ 2705 (except for delay of trial). and authorize the officer executing this warrant to delay notice to the person who. or whose
property will be searched or seized (check Ihe appropriale box)
        ofor       days (110110exceed ]0)   0 until the facts justifying, the later specific date of


Date and time issued:                    11/05/2020       10:00 am


City and state:                    Seattle. Washington                                                 Hon. John L. Weinberg, United States Magistrate Judge
                                                                                                                        Prill led 1I(11/1e
                                                                                                                                         and lille


USAO No. 201901 184
                                 Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 20 of 25
 AO 93 (Rev. 1[113) Search and Seizure W(lrrant (Pago; 2)


                                                                                      Return
 Case No.:                                           Date and time wan'ant executed:                     Copy of waiT ant and inventory                       left with:
        MJ 1-0 -11~                                           tll~l-z.ow                                     tJlA
 Inventory     made in the presence              of:
                                                           "'fA
 Inventory    of the property          taken and name of any person(s)            seized:

         .~fo..r N..I\A\ ""             , \ t\ e lv.cl:,} ~ 'b\ (.

             Q,ttO ~             CIN\\-tMA~ .        I
                                                              i tw\tlU'
                                                          (N•••


              to\\o~\j               ()M~\       ~                 "



                             - joc.,~""•.c;.-b~\                   V\~t,f\AAA    \~                \. (4""


                             -        JD4~       '~-k>ffo.r(,v(.V' ~ J~';'.\.(..,0'1'/\
                             - fii\~v\(,:"'~f4~~O\OJ'f e .jW\.~1.U>_M
                             - 'Jo~~~1I..~otv\~t,. 'J~\t.e, ~M.~J,UfV\
                                                         """t..
                            - f~o\.\.~ u.V\~w\Q,V·, U.JI\ j~l. (p{V\                  e
                             - toM"'vf Jo,,~u."''\'~k~          e.~~\_                            <...oM

                              -        M~-\vc,.\-\.O'.~.:~be ~~~\.                      U)IV\


                             -        ?\A,W'Me_-r,( ~('oJe.,1Q..- 0~~\.                        i,O(V\.



                                 -    ·j04~UCA.\;,Co:>oN\-4.ck            ~C~l.U>M.



                                                                                Certification


          I declare under penalty of perjury that this inventory                      is correct and was returned              along with the original             warrant to the
designated judge.




Date:    ___1._~"",l&-"<-I!J,.=\             _
                                                                                                         V          E:!O:eclllillg o.flIcer:f   sigllQ/IIre



                                                                                   _MA:H:~Lw_:Z;k;;;:;;;;;;r,;;lIIe
                                                                                                        ~.,:,..•..  LA!--"Ak
                                                                                                                      NJ.J                  alld   I
                                                                                                                                                                 f:eJ__
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 21 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 22 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 23 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 24 of 25
Case 2:20-mj-00713-JLW Document 5 Filed 02/04/21 Page 25 of 25
